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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 LOIS I. BERG and                            )
 ROBERT D. BERG,                             )
                                             )          Case No. 19-5113
                Plaintiffs,                  )
                                             )          Jury Trial Demanded
 vs.                                         )
                                             )
 McCALLA RAYMER LEIBERT                      )
 PIERCE, LLC,                                )
                                             )
                Defendant.                   )

                                        COMPLAINT

       Plaintiffs, Lois I. Berg and Robert D. Berg (the “Bergs”), by and through their undersigned

attorneys, for their complaint against Defendant McCalla Raymer Leibert Pierce, LLC (“MRLP”),

state and allege:

                                  NATURE OF THE ACTION

       1.      MRLP violated the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

(“FDCPA”), when it filed and prosecuted a foreclosure action against the Bergs and their property

to collect a debt not owed by the Bergs and for which the Bergs’ property interest had not been

mortgaged.

       2.      The FDCPA broadly prohibits unfair or unconscionable collection methods,

conduct which harasses or abuses any debtor, and the use of any false or deceptive statements in

connection with attempts to collect a debt. The FDCPA further requires debt collectors to give

debtors certain information. 15 U.S.C. §§ 1692e.
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                               PARTIES, JURISDICTION AND VENUE

        3.      The Bergs own the home located at 78 Caribou Crossing, Northbrook Illinois 60062

(the “Home”) as joint tenants with their daughter, Lauren Berg (“Lauren”).

        4.      The Berg’s are each an individual who resides in the Home as their primary

residence.

        5.      Jurisdiction is proper in this Court under 15 U.S.C. § 1692k and 28 U.S.C. § 1331.

        6.      Venue and personal jurisdiction in this District are proper under 28 U.S.C. §

1391(b)(2) because MRLP conducts business in this District and because MRLP’s collection

communications and practices giving rise to the claims occurred within this District.

        7.      Venue lies in this District pursuant to 28 U.S.C. § 1391(b) as a substantial part of

the events or omissions giving rise to the claims asserted herein occurred, or a substantial part of

property that is the subject of the action, is in this District.

        8.      The Bergs are each a “consumer” as defined in 15 U.S.C. § 1692a(3) in that each

is a natural person who MRLP sought to collect a debt allegedly incurred for personal, family, or

household purposes. Here the debt was alleged to have been a note secured by a mortgage and the

purpose was to refinance prior debt on a residence.

        9.      MRLP is an Illinois limited liability company whose members are engaged in the

practice of law in Illinois.

        10.     MRLP is a “debt collector” as defined by the FDCA, 15 U.S.C. §1692(a)(6) because

it regularly collects debts owed to others. MRLP is engaged in the business of collecting debts on

behalf of others.

        11.     MLRP regularly uses the mail to collect debts.
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                                     ADDITIONAL FACTS

       12.     On April 7, 2004, Lauren borrowed money and executed a note payable to IndyMac

Bank, F.S.B. in the amount of $220,000 (the “Note”). To secure payment of the Note, Lauren

granted a contemporaneous mortgage lien on her interest in the Home (the “Mortgage”). A copy

of the Note is attached as Exhibit 1 and a copy of the Mortgage is attached as Exhibit 2. Both are

collectively referred to herein as the “Loan.”

       13.     The Loan was for personal, family and household purposes, the refinance of

mortgage loan debt on the Home owned jointly with her parents which was used as a residence..

Pursuant to the FDCPA, a "debt" is "any obligation or alleged obligation of a consumer to pay

money arising out of a transaction in which the money, property, insurance, or services which are

the subject of the transaction are primarily for personal, family, or household purposes, whether

or not such obligation has been reduced to judgment." 15 U.S.C. § 1692a(5).

       14.     The Loan is now owned by Deutsche Bank National Trust Company, as trustee for

Residential Asset Securitization Trust 2004-IP2, Mortgage Pass-Through Certificates Series 2004-

IP2 (“Deutsche Bank”).

       15.     The Bergs are not parties to the Loan and did not borrow money or execute the

Note and Mortgage. Their interest in the Home is not properly subject to any claim by MRLP’s

client Deutsche Bank.

       16.     MRLP has at all times relevant acted as the agent for Deutsche Bank with respect

to collection of the Loan.

       17.     In an attempt to collect the Loan, on November 5, 2018, MRLP filed a Complaint

to Foreclose Mortgage (“Foreclosure Complaint”) in the Circuit Court of Cook County, Illinois.

A copy of the Foreclosure Complaint is attached as Exhibit 3.
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       18.     In the Foreclosure Complaint, MRLP names, among others, Lauren and the Bergs

as defendants and seeks to sell the Home at public sale to pay the Loan. The Foreclosure

Complaint seeks a judgment of foreclosure and sale, a judgment for attorney’s fees, costs and

expenses, possession of the Home, and the option for appointment of a receiver.

       19.     MRLP caused the Foreclosure Complaint to be served on the Bergs.

       20.     During the course of the foreclosure, MRLP filed a motion for default, attached

Exhibit 4, and a motion for judgment for foreclosure and sale, attached as Exhibit 5. MRLP also

filed motions to appoint a selling officer and a motion for attorney’s fees it claimed due, attached

as Exhibits 6 and Exhibit 7.

       21.     On February 21, 2019, the circuit court judge entered a judgment for foreclosure

and sale against the Bergs, based upon the representations and pleadings of MRLP. A copy of the

judgment is attached as Exhibit 8.

       22.     In order to protect their interest in the Home and to defend the false allegations

made by MRLP, the Bergs were forced to retain counsel to appear in the foreclosure case and to

represent their interest. Counsel for the Bergs expended substantial time and was ultimately

successful in having the judgment entered on February 21, 2019 vacated. The foreclosure case

remains pending.

       23.     The Bergs have incurred legal fees and costs of $2,500, to date, for the work

required of counsel in the foreclosure case.

       24.     The FDCPA provides that "[a] debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt." 15 U.S.C. §

1692e. That includes the "false representation of . . . the character, amount, or legal status of any

debt." Id. § 1692e(2)(A).
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        25.     In the Foreclosure Complaint and in the motion for entry of a judgment of

foreclosure, MRLP made multiple false statements or misrepresentations. In particular, the

Foreclosure Complaint falsely claimed that the Bergs’ Home was subject to a judgment of

foreclosure and sale, a judgment for attorney’s fees, costs and expenses, and that possession of the

Home and the appointment of a receiver, could be sought. Moreover, the “deemed allegations”

found in 735 ILCS 5/15-1504(c)(7), (c)(12) and (e)(6) were also false and sought legally

unobtainable relief.

        26.     In its motion for judgment for foreclosure and sale, Exhibit 5, MRLP falsely

represented and alleged “[t]hat the rights and interests of all Defendants in the subject property are

inferior to the lien of the Plaintiff."

        27.     Because the FDCPA prohibits debt collectors from misrepresenting the legal status

of a debt and from seeking to collect amounts not permitted by law, courts have held that a debt

collector violates the Act when it sues a consumer for legally unattainable relief.

        28.     Entry of a judgment of foreclosure and sale, entry of a judgment for attorney’s fees,

costs and expenses, possession and the appointment of a receiver were all legally unattainable

relief because the Bergs had no obligations to anyone pursuant to the Note or any other document

and the Mortgage did not grant Deutsche Bank or anyone else a lien on the Bergs’ interest in the

Home.

        29.     The filing of a legally defective debt collection suit can violate § 1692e where the filing

falsely implies that the debt collector has legal recourse to collect the debt.

        30.     MRLP violated Section 1692f(1), which prohibits "[t]he collection of any amount

(including any interest, fee, charge, or expense incidental to the principal obligation) unless such

amount is expressly authorized by the agreement creating the debt or permitted by law."

        31.     The Loan did not authorize MRLP to collect any amount from the Bergs.
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                                            DAMAGES

       32.     The Bergs have expended considerable time and incurred costs consulting with

their attorney as a result of MRLP’s unlawful collection actions.

       33.     The Bergs have incurred legal fees and costs of $2,500 to represent them in the

foreclosure case. Additionally, the Bergs have incurred and continue to incur legal fees and

expenses to bring this case.

       34.     The foreclosure case filed against the Bergs is a public record which can never be

removed. Having a foreclosure filed and pending has had and continues to have a severe,

detrimental impact on the Bergs causing them embarrassment, fear and extreme stress.

Additionally, the existence of such a public record will have a negative impact on the Bergs’ ability

to obtain credit for years to come and may impact the cost of credit as well as the cost of insurance.

       35.     The Bergs were each unduly inconvenienced and harassed by MRLP’s unlawful

attempts to collect a debt which it was not entitled to collect from them

       36.     The Bergs suffered emotional distress by MRLP’s conduct.

       37.     Pursuant to 15 U.S.C. § 1692k, the Bergs are each entitled to actual damages,

statutory damages, attorneys’ fees and costs.

       WHEREFORE, the Plaintiffs respectfully request that this Honorable Court enter

judgment in their favor and against Defendant, as follows:

       a.      Declaring that the conduct of MRLP as alleged herein is unlawful and violates the

               FDCPA, 15 U.S.C. § 1692e and § 1692f;

       b.      Awarding each Plaintiff statutory damages of $1,000 pursuant to 15 U.S.C. §

               1692k(a)(2)(A);
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c.     Awarding each Plaintiff actual damages, in an amount to be proven up at a later

       date, pursuant to 15 U.S.C. § 1692k(a)(1);

d.     Awarding each Plaintiff costs and reasonable attorney fees as provided under 15

       U.S.C. §1692k(a)(3); and

e.     Awarding any other relief as this Court deems just and appropriate.



                                 JURY DEMAND

Plaintiffs demand a trial by jury.

                                            Respectfully submitted,

                                            LOIS I. BERG
                                            ROBERT D. BERG

                                            By: /s/ Rusty Payton
                                            Rusty Payton

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